            Case 1:23-cr-00222-DLF Document 40 Filed 08/05/24 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
              v.                                 :      Case No. 23-CR-00222 (DLF)
                                                 :
SAI VARSHITH KANDULA,                            :
                                                 :
              Defendant.                         :


              FIRST UNOPPOSED MOTION TO CONTINUE SENTENCING

       Defendant Sai Kandula, by and through counsel, moves this Court to continue the

sentencing scheduled for August 23 to September 23 or October 7. In support of this motion,

Defendant states as follows:

       1. Defendant’s sentencing is scheduled for August 23.

       2. Defendant’s sentencing memorandum is due August 6.

       3. Counsel needs additional time to prepare Defendant’s memorandum and to confer

            with Defendant’s psychiatric expert before sentencing.

       4.    Defendant, through counsel, has discussed this matter with Assistant United States

            Attorney Alexander Schneider.

       5. Mr. Schneider does not oppose Defendant’s request and is available on September 23

            and October 7.

       For the reasons above, Defendant respectfully requests this Court continue the sentencing

scheduled for August 23 to September 23 or October 7.




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          Case 1:23-cr-00222-DLF Document 40 Filed 08/05/24 Page 2 of 2




                                                            Respectfully submitted,

                                                            /s/ Scott Rosenblum
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                                CERTIFICATE OF SERVICE

       I certify that on August 5, 2024, this document was electronically filed with the Clerk of
the Court to be served by operation of the Court’s electronic filing system upon Mr. Alexander
Schneider, Assistant United States Attorney.




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